                Case 2:20-cv-01623-JCC Document 14 Filed 12/10/20 Page 1 of 4

                                              THE HONORABLE JOHN C. COUGHENOUR

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 7                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WASHINGTON
 8                                        AT SEATTLE
 9
     TWIN CITY FIRE INSURANCE COMPANY,
10                                                    No. 2:20-cv-01623-JCC
                   Plaintiff,
11                                                    STIPULATED MOTION AND
           v.                                         [PROPOSED] ORDER FOR
12                                                    DISMISSAL OF DEFENDANT
     LUNDBERG, LLC and PACKAGING                      PACKAGING CORPORATION OF
13   CORPORATION OF AMERICA,                          AMERICA

14                 Defendants.                        NOTE ON MOTION CALENDAR:
                                                      December 10, 2020
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     STIPULATED MOTION AND [PROPOSED] ORDER                                 ALSTON & BIRD LLP
28   No. 2:20-cv-01623-JCC                                         333 South Hope Street, 16th Floor
                                                                            Los Angeles, CA 90071
                                               Telephone: (213) 576-1000 / Facsimile: (213) 576-1100
                Case 2:20-cv-01623-JCC Document 14 Filed 12/10/20 Page 2 of 4




 1           Plaintiff Twin City Fire Insurance Company (“Plaintiff”) and Defendant Packaging

 2   Corporation of America (“PCA”), by and through their undersigned counsel, hereby stipulate as

 3   follows:

 4           WHEREAS, Plaintiff commenced this action by filing a Complaint on November 4, 2020,

 5   asserting claims for declaratory relief regarding the duty to defend and duty to indemnify

 6   Defendant Lundberg, LLC (“Lundberg”).

 7           WHEREAS, Plaintiff previously agreed to extend PCA’s deadline to respond to the

 8   Complaint by fourteen (14) days in order for the parties to potentially resolve this matter.

 9           WHEREAS, on December 4, 2020, the Court granted the parties’ Stipulated Motion for

10   Extension of Time, finding good cause for extending the time for PCA to file its responsive

11   pleading to the Complaint.

12           WHEREAS, Plaintiff has agreed to dismiss PCA from this action, in exchange for PCA’s

13   agreement to not contest any ruling in this action regarding Plaintiff’s rights, duties, and/or

14   obligations arising out of the commercial general liability insurance policies issued to LDX

15   Solutions and Dustex Holdings, LLC, where Lundberg is a named insured. (See Complaint ¶¶ 37–

16   42.)

17           WHEREFORE, this matter having been fully compromised between Plaintiff and PCA, the

18   parties respectfully request that the Court enter an Order dismissing PCA from this action with
19   prejudice, with each party to bear its own costs.

20           Respectfully submitted this 10th day of December, 2020.

21   Presented by:

22   /s/ Brian C. Hickman
23   Brian C. Hickman, WSBA #50089
     GORDON & POLSCER, LLC
24   9020 SW Washington Square Rd., Suite 560
     Tigard, OR 97223
25   Telephone: (503) 242-2922
     Facsimile: (503) 242-1264
26
27   Stipulated Motion and [Proposed] Order          1                                ALSTON & BIRD LLP
     No. 2:20-cv-01623-JCC                                                   333 South Hope Street, 16th Floor
28                                                                                    Los Angeles, CA 90071
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                Case 2:20-cv-01623-JCC Document 14 Filed 12/10/20 Page 3 of 4




     Email: bhickman@gordon-polscer.com
 1

 2   Attorneys for Plaintiff Twin City Fire Insurance Co.

 3   /s/ J. Andrew Howard
     J. Andrew Howard, WSBA #48900
 4   ALSTON & BIRD LLP
     333 South Hope Street, 16th Floor
 5
     Los Angeles, CA 90071
 6   Telephone: (213) 576-1000
     Facsimile: (213) 576-1100
 7   Email: andy.howard@alston.com

 8   Eric Kuwana (pro hac vice motion forthcoming)
     ALSTON & BIRD LLP
 9
     90 Park Avenue, 15th Floor
10   New York, NY 10016
     Telephone: (212) 210-9400
11   Facsimile: (212) 210-9444
     Email: eric.kuwana@alston.com
12
     Attorneys for Defendant Packaging Corporation of
13
     America
14                                            [PROPOSED] ORDER
15           The foregoing Stipulated Motion for Dismissal of Defendant Packaging Corporation of
16   America is GRANTED.
17           IT IS SO ORDERED.
18           Dated this ____ day of December, 2020.
19
                                                   __________________________________________
20                                                 The Honorable John C. Coughenour
                                                   United States District Court Judge
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27   Stipulated Motion and [Proposed] Order          2                                ALSTON & BIRD LLP
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28                                                                                    Los Angeles, CA 90071
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                Case 2:20-cv-01623-JCC Document 14 Filed 12/10/20 Page 4 of 4




 1                                       CERTIFICATE OF SERVICE

 2           I certify that on December 10, 2020, I electronically filed the foregoing with the Clerk of
 3
     Court using the CM/ECF system, which will automatically provide notice to all attorneys of record
 4
     by electronic means.
 5
             I declare under penalty of perjury under the laws of the United States this 10th day of
 6

 7   December, 2020, at Los Angeles, California.

 8                                                 /s/ J. Andrew Howard
                                                   J. Andrew Howard, WSBA #48900
 9
                                                   Attorneys for Defendant Packaging Corporation of
10
                                                   America
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27   Stipulated Motion and [Proposed] Order          3                                ALSTON & BIRD LLP
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